                   Case: 3:15-cr-00054-wmc Document #: 100 Filed: 11/17/15 Page 1 of 1

AO 455 (Rev. 01/09) Waiver of an Indictment


                                      UNITED STATES DISTRICT COURT
                                                          forthe
                                               W estem District of Wisconsin

                  United States of America
                                                            )
                             v.                             )      Case No. 15-cr-00054-wmc
                                                            )
                                                            )
                   AMADOU CAMARA                            )
                            Defendant


                                              WAIVER OF AN INDICTMENT

        I understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court of my rights and the nature of the proposed charges against me.

       After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution by
information.



Date:    }   J/j f / ~615'



                                                                                Attorney Gregory Dutch




                                                                               Judge William M. Con1e
                                                                                Judge's printed name and title
